        Case 6:06-cr-60034-RFD-PJH                     Document 83             Filed 11/02/07              Page 1 of 5 PageID #:
                                                              280
AO245B Judgment in a Criminal Case (Rev. 06/05)
       Sheet 1



                                     United States District Court
                                              Western District of Louisiana
                                                   Lafayette Division
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     V.
               SUSAN MOLINARI                                             Case Number:           06CR60034-02

                                                                          USM Number:            13234-035

                                                                          Gerald J. Block
                                                                          Defendant’s Attorney

THE DEFENDANT:

[T]      pleaded guilty to count(s): 1 of the Information
[]       pleaded nolo contendere to count(s)        which was accepted by the court.
[]       was found guilty on count(s)       after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:


Title & Section                         Nature of Offense                                        Count                    Date Offense
                                                                                                 Number(s)                Concluded
 18 USC §4                              Misprision of Felony                                       1                      05/07/2005

        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on count(s)        .

[T]      Count(s) Indictment       [T] is [ ] are dismissed on the motion of the United States.

         IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and the United States attorney of any material changes in the
defendant’s economic circumstances.

                                                                                                      October 24, 2007
                                                                        Date of Imposition of Judgment




                                                                        Signature of Judicial Officer


                                                                                TUCKER L. MELANÇON, United States District Judge
                                                                        Name & Title of Judicial Officer


                                                                                                        November 2,2007
                                                                        Date
        Case 6:06-cr-60034-RFD-PJH                           Document 83              Filed 11/02/07              Page 2 of 5 PageID #:
                                                                    281
AO245B Judgment in a Criminal Case (Rev. 06/05)
      Sheet 4 — Probation
                                                                                                                                     Judgment - Page 2 of 5
DEFENDANT:                 SUSAN MOLINARI
CASE NUMBER:               06CR60034-02

                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of 3 years .

                                                MANDATORY CONDITIONS (MC)

1.          The defendant shall not commit another federal, state, or local crime.

2.          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
            substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
            thereafter, as determined by the court.

3.     []             The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
                      substance abuse. (Check, if applicable.)

4.     [T]            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
                      applicable.)

5.     [T]            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

6.     []             The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
                      student, as directed by the probation officer. (Check, if applicable.)

7.     []             The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

8.     If this judgment imposes a fine or a restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
       Payments sheet of this judgment.

9.     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
       attached page.

                                   STANDARD CONDITIONS OF SUPERVISION (SC)
 1)   the defendant shall not leave the judicial district without permission of the court or probation officer;
 2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
      month;
 3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)   the defendant shall support his or her dependants and meet other family responsibilities;
 5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
      reasons;
 6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
      or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
      unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
      contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
      the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
      or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
      compliance with such notification requirement.
        Case 6:06-cr-60034-RFD-PJH                Document 83       Filed 11/02/07       Page 3 of 5 PageID #:
                                                         282
AO245B Judgment in a Criminal Case (Rev. 12/03)
    Sheet 4A - Probation
                                                                                                          Judgment - Page 3 of 5
DEFENDANT:               SUSAN MOLINARI
CASE NUMBER:             06CR60034-02


                                SPECIAL CONDITIONS OF SUPERVISION (SP)
1.) Should the Probation Office feel additional drug testing and/or counseling is necessary, the defendant shall
participate in any such program , as directed by the United States Probation Office.
          Case 6:06-cr-60034-RFD-PJH                                Document 83               Filed 11/02/07                Page 4 of 5 PageID #:
                                                                           283
AO245B Judgment in a Criminal Case (Rev.06/05)
      Sheet 5 — Criminal Monetary Penalties
                                                                                                                                                Judgment — Page 4 of 5
DEFENDANT:                  SUSAN MOLINARI
CASE NUMBER:                06CR60034-02

                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                             Assessment                               Fine                           Restitution
       Totals:                                                $ 100.00                              $ 100.00                             $


[]     The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered after
       such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amounts listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.


                                                                   *Total
Name of Payee                                                       Loss                     Restitution Ordered              Priority or Percentage



TOTALS:                                                        $                                    $


[]      Restitution amount ordered pursuant to plea agreement $

[]      The defendant must pay interest on restitution and a fine of more than $2500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[]      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

        [ ] The interest requirement is waived for the [ ] fine [ ] restitution.

        [ ] The interest requirement for the             [ ] fine [ ] restitution is modified as follows:




* Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, for offenses com m itted on or after Septem ber 13, 1994 but
before April 23, 1996.
           Case 6:06-cr-60034-RFD-PJH                        Document 83               Filed 11/02/07              Page 5 of 5 PageID #:
                                                                    284
AO245B Judgment in a Criminal Case (Rev. 06/05)
      Sheet 6 — Schedule of Payments
                                                                                                                                     Judgment — Page 5 of 5
DEFENDANT:                SUSAN MOLINARI
CASE NUMBER:              06CR60034-02

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     [T] Lump sum payment of $ 200.00 due immediately, balance due

            [ ] not later than , or
            [ ] in accordance with                   [ ]C,     [ ]D, or [ ]E or [ ]F below; or

B     []    Payment to begin immediately (may be combined with [ ]C,           [ ]D, or        [ ]F below); or

C     []    Payment in equal       (e.g., weekly, monthly, quarterly) installments of $     over a period of     (e.g., months or years), to commence
            (e.g., 30 or 60 days) after the date of this judgment; or

D     []    Payment in equal       (e.g., weekly, monthly, quarterly) installments of $ over a period of         (e.g., months or years), to commence
            (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     []    Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment. The court
            will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     []    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, are made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


[]    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
      corresponding payee, if appropriate.



[]    The defendant shall pay the cost of prosecution.

[]    The defendant shall pay the following court cost(s):

[]    The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)fine interest,
(6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
